                         Case 3:24-bk-00496-BAJ                             Doc 345-1               Filed 03/27/25               Page 1 of 1
[Dntchrg] [District Notice of Hearing (Reaf)]
                                                      UNITED STATES BANKRUPTCY COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                           JACKSONVILLE DIVISION

                                                                                                                Case Number:
In re:                                                                                                          3:24−bk−00496−BAJ
                                                                                                                Chapter 11

Genie Investments NV Inc.

                           Debtor*

                                                    NOTICE OF EVIDENTIARY HEARING
          PLEASE TAKE NOTICE:
           1. The Honorable Jason A. Burgess will conduct an evidentiary hearing on June 24, 2025, at
           9:00 a.m. in Courtroom 4A, 4th Floor, Bryan Simpson United States Courthouse, 300
           North Hogan Street, Jacksonville, FL 32202 to consider the following:

                           1) Motion For Sanctions Against Chapter 7 Trustee, Akerman LLP,
                              Aaron Cohen, and Ray Elliott for Bad Faith Litigation, Abuse of
                              Process, Suppression of Exculpatory Evidence, Retaliation, and Breach
                              of Fiduciary Duty (doc #322)

                           2) Motion For Sanctions for Violation of the Automatic Stay under 11 U.S.C. Sec.
                              362(k) and Bad Faith Litigation Against Raye C. Elliott & Akerman LLP (doc
                              #325)

                           3) Motion for Court Recognition of Resignation as Debtor Representative Filed by
                              Interested Party David Hughes (doc #334)

                           4) Motion for Court Recognition of Resignation as Debtor Representative Filed by
                              Interested Party John-Michael Cohan (doc #335)

                           5) Motion for Expedited Rulings on Procedural Violations, Bad-Faith Litigation,
                              Due Process Violations and Request for Sanctions Against the Trustee (doc #337)

           2. A party that opposes the relief sought in the matter to be heard must appear In PERSON otherwise,
           any objection or defense may be deemed waived.

           3. The Court may continue this matter upon announcement made in open court and reflected on the
           docket without further written notice.
          Avoid delays at Courthouse security checkpoints. You must show a photo I.D. to enter the
          Courthouse. Except in the Orlando Courthouse, you may not bring a cell phone or a computer into
          the Courthouse unless you are an attorney with a valid Florida Bar identification card or a pro hac
          vice order, or the presiding judge has entered a specific order authorizing you to bring your cell
          phone or computer into the Courthouse. See Rule 7.02 of the Local Rules of the United States
          District Court for the Middle District of Florida and Rule 5073−1 of this Court's Local Rules.
          Dated March 27, 2025
                                                                                                                                          FOR THE COURT
                                                                                                                                          Jose A. Rodriguez,
                                                                                                                                               Clerk of Court
                                                                                                                                Bryan Simpson United States
                                                                                                                           Courthouse 300 North Hogan Street
                                                                                                                                                 Suite 3−150
                                                                                                                                      Jacksonville, FL 32202
           *All references to "Debtor" include and refer to both the debtors in a case filed jointly by two individuals.
